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                  UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION
CIN-Q AUTOMOBILES, INC., et       )
al.,                              )
                    Plaintiffs,   )
     v.                           )
                                  )
BUCCANEERS LIMITED                )              Case No. 8:13-cv-01592-AEP
PARTNERSHIP and JOHN DOES )
1-10,                             )                    Magistrate Judge
                      Defendants, )                   Anthony E. Porcelli
                                  )
TECHNOLOGY TRAINING               )
ASSOCIATES, INC., et al.,         )
                                  )
                     Intervenors. )

               BTL’S MOTION AND INCORPORATED
          MEMORANDUM OF LAW IN SUPPORT OF MOTION
         FOR LEAVE TO SEAL DOCUMENTS AND TESTIMONY
      Defendant Buccaneers Team LLC f/k/a Buccaneers Limited Partnership
(“BTL”), pursuant to Local Rule 1.11(c), respectfully seeks leave for the sealing of
documents submitted to the Court in advance of the August 31, 2022 evidentiary
hearing, which documents may be introduced or used at such hearing.            Said
documents are listed on the exhibit list filed contemporaneously herewith. These
documents include the results of the various reverse lookups that have been
performed in this case and certain confidential materials analyzing and referencing
such personal identifying information produced and relied on by BTL’s expert. BTL
also seeks to seal any portions of the August 31, 2022 hearing that may discuss or
reference such exhibits.
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      In accordance with Local Rule 1.11(c), the incorporated memorandum of law
identifies and describes the material proposed to be sealed, the reasons that sealing
is necessary and cannot be accomplished through other means, a statement of the
proposed duration of the seal and legal authority supporting sealing. See M.D. Fla.
L.R. 1.11(c).
      As demonstrated below in the incorporated memorandum of law, BTL has
met each of the requirements for sealing documents and testimony discussing such
documents and respectfully requests that its motion for leave to seal be granted.
                           MEMORANDUM OF LAW
         A.      Description Of Documents To Be Sealed, The Necessity
                Of Sealing The Information And The Duration Of Sealing
      BTL is filing contemporaneously herewith an exhibit list in advance of the
August 31, 2022 evidentiary hearing, and BTL’s thumb drive of exhibits was also
delivered to the Court today, as required by the Court’s August 12, 2022 Notice of
Hearing. See Aug. 12, 2022 Notice of Hearing (Dkt. 384).
      Exhibits 1-6 contain the results of the reverse lookups performed in this case
by TransUnion, LexisNexis and Class-Settlement.com, respectively. BTL may use
each of these exhibits at the August 31, 2022 evidentiary hearing to either examine
witnesses or introduce the reverse lookup results into evidence. The parties have
designated the results as confidential pursuant to the Court’s February 10, 2020
Order Entering Protective Order (Dkt. 293), incorporating Agreed Confidentiality
and Protective Order (Dkt. 292-1), because they constitute both “research, technical,
commercial or financial information that the party has maintained as confidential”
and contain “personal identity information” on numerous individuals whose names




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and addresses were returned. See Agreed Confidentiality and Protective Order (Dkt.
292-1) at ¶ 2.
      Exhibits 54-57 contain either analyses of the telephone lines at issue in this
case or analyses of the reverse lookup results performed in this case by TransUnion,
LexisNexis and Class-Settlement.com, respectively, undertaken by BTL’s expert.
BTL may use each of these exhibits at the August 31, 2022 evidentiary hearing to
either examine witnesses or introduce the exhibits into evidence. BTL has, in turn,
designated the analyses as confidential pursuant to the Court’s February 10, 2020
Order Entering Protective Order (Dkt. 293), incorporating Agreed Confidentiality
and Protective Order (Dkt. 292-1), because they constitute both “research, technical,
commercial or financial information that the party has maintained as confidential”
and contain “personal identity information” on numerous individuals whose names
and addresses were returned. See Agreed Confidentiality and Protective Order (Dkt.
292-1) at ¶ 2.
      Courts in this district have recognized that “personal identifying information
of third parties deserves protection.” Shamblin v. Obama for America, 2014 WL
6611006, *1-3 (M.D. Fla. 2014) (granting motion to seal documents “contain[ing]
phone numbers of class members”). Each of the exhibits and potential testimony
related thereto sought to be sealed discusses certain entries in the reverse lookup
results in detail and also describes personal identifying information of third-party
individuals, which necessitates sealing of this information. BTL has provided the
Court with unredacted copies of the exhibits to be sealed so that the Court may
review the documents in camera during its evaluation of BTL’s motion for leave.
BTL respectfully requests that the Court maintain the unredacted copies of



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Exhibits 1-6 and 54-57 and any testimony related thereto at the August 31, 2022
evidentiary hearing under seal indefinitely.
            B.     Legal Authority Supporting The Request To Seal
      In evaluating a motion to seal, a court must balance the public’s interest in full
access to court documents with the party’s interest in keeping that information
confidential. See, e.g., Romero v. Drummond Co., 480 F.3d 1234, 1246 (11th Cir.
2007). Indeed, “[a] party’s privacy or proprietary interest in information sometimes
overcomes the interest of the public in accessing the information.” Id. When
balancing these competing interests, the court considers a variety of different factors:
      In balancing the public interest in accessing court documents against a
      party’s interest in keeping the information confidential, courts consider,
      among other factors, whether allowing access would impair court functions
      or harm legitimate privacy interests, the degree of and likelihood of injury if
      made public, the reliability of the information, whether there will be an
      opportunity to respond to the information, whether the information concerns
      public officials or public concerns, and the availability of a less onerous
      alternative to sealing the documents.
Id.
      In this instance, the balance of interests weighs in favor of sealing Exhibits 1-6
and 54-57. Courts frequently grant motions to seal personal identifying information
of individuals, including absent class members. See, e.g., Shamblin, 2014 WL
6611006, *3; Barkley v. Pizza Hut, 2015 WL 5915817, *2 (M.D. Fla. 2015)
(granting motion to seal class list with personal identifying information); Allgood v.
Paperlesspay Corp., 2021 WL 3887558, *2 (M.D. Fla. 2021) (granting motion to
seal personal identifying information of plaintiffs and third-party family members).
Disallowing public access to the personal identifying information of class members
and other third parties would not impair court functions or harm legitimate privacy




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interests, and the information does not concern public officials or concerns but,
instead, private individuals and businesses.
      As mentioned above (see disc. supra at 3), there is no less onerous alternative
to sealing, because Exhibits 1-6 and 54-57 almost exclusively contain lists of
personal identifying information or information that the producing parties have
maintained as confidential.
      WHEREFORE, for the foregoing reasons, BTL respectfully requests,
pursuant to Local Rule 1.11(c), that the Court grant leave to seal Exhibits 1-6 and
54-57, and any testimony related thereto at the August 31, 2022 evidentiary hearing
indefinitely.

Date: August 29, 2022                         Respectfully submitted,

                                              /s/ Mark S. Mester
                                              Mark S. Mester, One of the Attorneys
                                              for Defendant Buccaneers Team LLC

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                  LOCAL RULE 3.01(G) CERTIFICATION

      Pursuant to Local Rule 3.01(g), the undersigned hereby certifies that we

conferred with Plaintiffs’ counsel by email with respect to the instant motion and

have been informed that Plaintiffs do not oppose sealing of Exhibits 1-6 and have

declined to date to take a position in response to BTL’s request on Exhibits 54-57.

Date: August 29, 2022                     /s/ Mark S. Mester
                                          Mark S. Mester, One of the Attorneys for
                                          Defendant Buccaneers Team LLC

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                        CERTIFICATE OF SERVICE

      I hereby certify that on August 29, 2022, I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system.

Date: August 29, 2022                    /s/ Mark S. Mester
                                         Mark S. Mester, One of the Attorneys for
                                         Defendant Buccaneers Team LLC

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